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                                     UNITED STATES BANKRUPTCY COURT,SOUTHERN DISTRICT OF FLORIDA

                                                                www.flsb.uscourts.gov
                                                    CHAPTER 13 PLAN ffndividual Adjustment of Debts'^
                              □                                         Original Plan
                              [§ THIRD                                  Amended Plan (Indicate 1st, 2nd, etc. Amended,if applicable)
                              □                                         Modified Plan (Indicate 1st, 2nd,etc. Modified, if applicable)

     DEBTOR: AVA CELESTE BENJAMIN                              JOINT DEBTOR:                                      CASE NO.: 22-11124-AJC
     SS#: xxx-xx- 3669                                          SS#: xxx-xx-
     I.          NOTICES
                 To Debtors:         Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                     modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                     Rules 2002-1 (C)(5), 3015-1 (B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                     the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                 To Creditors:        Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                      be reduced, modified or eliminated.

                 To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                     on each line listed below in this section to state whether the plan includes any of the following:

       The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                  !■]   Included       r~l Not included
       partial payment or no payment at all to the secured creditor
       Avoidance of a judicial lien or nonpossessoiy, nonpurchase-money security interest, set
       out in Section III                                                                                         □     Included       [■]   Not included

       Nonstandard provisions, set out in Section IX                                                              □     Included       !■]   Not included
    II.          PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(SV ATTORNEY’S FEE

                 A.      MONTHLY PLAN PAYMENT; This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the frill 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        1.   $1,835.32            for months     1    to 60   ;

                 B. DEBTORfSV ATTORNEY'S FEE;                                            □ NONE      □ PRO BONO
             Total Fees:              $5,700.00           Total Paid:             $2,487.00           Balance Due:         $3,213.00

             Payable _            $69.89          /month (Months _l_ to 45 )
             Payable _            $67.95          /month (Months 46 to 46 )
             Allowed fees under LR 2016-1(B)(2) are itemized below:
             Jose A. Blanco, Esq.: $4,500 Attorneys Fees + $525 Motion to Value + $525 Motion to Value + $150 Cost = $5,700.00

             Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.         TREATMENT OF SECURED CLAIMS                         □ NONE
                 A. SECURED CLAIMS:               □ NONE
                 [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
              1. Creditor: Covey Financial, LLC
                  Address: P.O. Box 790892                      Arrearage/ Payoff on Petition Date   $35,247.75
                           San Antonio, TX 78279                                                              $587.46
                                                                Arrears Payment (Cure)                                     /month (Months    1   to 60 )
                                                                Regular Payment (Maintain)                    $831.30      /month (Months    1   to 60 )
             Last 4 Digits of
             Account No.:                  6870
             Other:




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        \m\Real Property                                                      Check one below for Real Property:
                [principal Residence                                          ® Escrow is included in the regular payments
                [~~|Other Real Property                                       □The debtor(s) will pay   Qtaxes      Qinsurance directly
         Address of Collateral:
         2246 NW 61 Street, Miami, FL 33142


         □ Personal PropertyA^ehicle
         Description of Collateral:

             B. VALUATION OF COLLATERAL;                □ NONE
                    IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                    SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                    YOU PURSUANT TO BR 7004 AND LR 3015-3.

                    1. REAL PROPERTY: d NONE
                    2. VEHICLES(S): □ NONE

          1. Creditor: Lugano Capital Inc             Value of Collateral:              $4,OOO.0O                      Payment
                       dba Start Auto Finance Corp.
                                                      Amount of Creditor’s Lien:       $9,919.55     Total paid in plan:         $4,556.64
                       c/o Sobhan Arafa, CEO
               Address: 6600 Taft Street, Ste 200
                        Hollywood, FL 33024           Interest Rate:       5.25%                          $75.95     /month (Months     1 to 60 )


          Last 4 Digits of Account No.: 5205
          VIN: JNKAJ09E18M304148

          Description of Collateral:
          2008 Infiniti Ex35 Sport Utility


         Check one below:

         s Claim  incurred 910 days or more pre
           petition

         □   Claim incurred less than 910 days pre
             petition
         2, Creditor: Innovate Loan Service           Value of Collateral:             $3,000.00                       Payment

               Address: PO BOX 164894                 Amount of Creditor's Lien:       $5,905.22     Total paid in plan:         $3,417.48
                        Fort Worth, TX 76161

         Last 4 Digits of Account No.: 1934           Interest Rate:       5.25%                          $56.96     /month (Months     1 to 60 )
         VIN: 1N4AL2AP0CN463868

         Description of Collateral:
         2012 Nissan Altima S


         Check one below:

         II Claim  incurred 910 days or more pre
            petition

         □   Claim incurred less than 910 days pre
             petition

                   3. PERSONAL PROPERTY: U NONE
            C. LIEN AVOIDANCE |1 NONE

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             D. SURRENDER OF COLLATERAL;                          [■] NONE

             E.        DIRECT PAYMENTS             B     NONE
IV.          TREATMENT OF FEES AND PRIORITY CLAIMS fas defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                            □ NONE
             A. ADMINISTRATIVE FEES OTHER THAN DEBTORSfSV ATTORNEY'S FEE: Q NONE

                  1. Name: State of Florida - Department of Revenue, Bankruptcy

                  Payment Address: P.O. BOX 8045, Tallahassee, FL 32314

                  Total Due:                 $1,813.64
                       Payable       $30.23      /month (Months     1 to 60 )

             B.        INTERNAL REVENUE SERVICE;                 g NONE

             C. DOMESTIC SUPPORT OBLIGATIONfSI: g NONE

             D. OTHER:             g NONE
V.           TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                          □ NONE

                  A. Pay            $1,94         /month (Months     46    to 46 )

                         Pay        $69.89        /month (Months     47    to 60 )

                         Pro rata dividend will be calculated by the Trustee upon review of fi led claims after bar date.

                  B. n If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

                  C.     SEPARATELY CT.ASSTFIED:             g NONE

VI.          STUDENT LOAN PROGRAM                        g NONE

VIL          EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                         g NONE
VIII.        INCOME TAX RETURNS AND REFUNDS:

                       g The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                         annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                         Trustee with their fi led tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                         provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                         increases by more than 3% over the previous year’s income. [Miami cases]

IX.          NON-STANDARD PLAN PROVISIONS g NONE




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                        PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.




  AVA CELESTE BENJAMIN
                                        Debtor
                                                   ijis   Date
                                                                                                         Joint Debtor
                                                                                                                               Date




                                                        Date
    Attorney with permission to sign on
    Debtor(s)' behalf who certifies that
     the contents of the plan have been
       reviewed and approved by the
                           1
                Debtor(s).


   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph IX.




*This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtors)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




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